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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 JORGE A. RODRIGUEZ II,

                     Plaintiff,
                                                   Case No.: 1:23-CV-1697-TWP-MJD
       v.

 INDIANA UNIVERSITY SCHOOL OF
 MEDICINE,

                     Defendant.


                                  CASE MANAGEMENT PLAN

 I.    Parties and Representatives

       A.    Plaintiff:              Jorge A. Rodriguez, II

             Defendant:              Indiana University School of Medicine

       B.    Plaintiff’s counsel:    Jason J. Bach
                                     THE BACH LAW FIRM, LLC
                                     7881 W. Charleston Blvd., Suite 130
                                     Las Vegas, NV 89117
                                     Telephone Number: 702-925-8787
                                     Facsimile: 702-925-8788
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             Defendant’s counsel: Hamish S. Cohen (#22931-53)
                                  Brian Weir-Harden (#27651-49)
                                  MATTINGLY BURKE COHEN & BIEDERMAN LLP
                                  155 East Market Street, Suite 400
                                  Indianapolis, IN 46204
                                  Telephone Number: 314-614-7320
                                  Emails: Hamish.Cohen@mbcblaw.com
                                          Brian.Weir-Harden@mbcblaw.com

       Counsel shall promptly file a notice with the Clerk if there is any change in this
       information.
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 II.   Jurisdiction and Statement of Claims

       A.    The parties agree that this Court has jurisdiction pursuant to 28 U.S.C. § 1331
             because of federal law claims arising under the constitution and statutes of the
             United States and as there exist claims based upon 42 U.S.C. §§ 12101-12213 and 29
             U.S.C. § 701, et seq.

       B.    Plaintiff’s Claims: Plaintiff was a student in Indiana University School of
             Medicine’s (“IUSM”) Doctor of Medicine program whose academic performance
             was directly impacted by the symptoms of his disabilities. These impacts could
             have been readily ameliorated by reasonable accommodations by Defendant.

             In November 2021, following continued academic difficulties, Plaintiff realized the
             need for and requested such accommodations. Two months later, without providing
             Plaintiff an opportunity to utilize accommodations, IUSM dismissed him. That
             dismissal was based solely on his performance without accommodations. The
             dismissal was upheld by IUSM Dean Jay Hess because Plaintiff required
             accommodations. In dismissing Plaintiff without providing an opportunity to
             receive accommodations and upholding that dismissal precisely because Plaintiff
             required such accommodations, IUSM violated Plaintiff’s rights under the ADA
             and RA.

             Accordingly, Plaintiff now petitions this Court for redress in the form of injunctive
             relief, damages, costs and reasonable attorney’s fees in relation to the violation of
             his rights. Plaintiff has filed a claim against Defendant for violations of Title II of
             the Americans with Disabilities Act, 42 U.S.C. § 12101, et seq. and Section 504 of
             the Rehabilitation Act of 1973, 29 U.S.C. § 701, et seq.

       C.    Defendant’s Claims: While a student at the Indiana University School of Medicine,
             Plaintiff did not record or demonstrate he had a record of impairment that
             substantially limited one of his major life activities. Regardless, even if one
             accepts, for the sake of argument, Plaintiff can demonstrate he was, during the
             relevant time, entitled to protection under the Americans with Disabilities Act or
             the Rehabilitation Act, Plaintiff did not request – and Defendant did not know and
             could not reasonably have known – that accommodation was required. Indeed, as
             acknowledged in Plaintiff’s complaint, Indiana University School of Medicine
             (“IUSM”) was not informed of any alleged disability during Plaintiff’s first or
             second year prior to the receipt of his failing grades. Indeed, the facts will show,
             Plaintiff did not raise any alleged disability issues until after a decision had been
             made regarding his academic future at IUSM. Any subsequent actions by IUSM
             were in accordance with its appeal process as set forth in its policies and procedures.
             Finally, Plaintiff did, in fact, withdraw from IUSM. Before doing so, Plaintiff never
             raised any issues internally (to Indiana University’s Office of Equal Opportunity),
             and he never complained externally (to the United States Department of Education,
             Office of Civil Rights or any other agency).
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               Accordingly, the record will show IUSM did not know, or have reason to know, of
               any alleged disability during Plaintiff’s academic coursework or prior to its
               preliminary notice of dismissal. IUSM could not make reasonable
               accommodations when it did not have knowledge such accommodations were
               required. IUSM anticipates moving for summary judgment on these grounds.

 III.   Pretrial Pleadings and Disclosures

        A.     The parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before
               January 17, 2024.

        B.     Plaintiff(s) shall file preliminary witness and exhibit lists on or before January 24,
               2024.

        C.     Defendant(s) shall file preliminary witness and exhibit lists on or before
               January 31, 2024.

        D.     All motions for leave to amend the pleadings and/or to join additional parties shall
               be filed on or before March 1, 2024.

        E.     Plaintiff(s) shall serve Defendant(s) (but not file with the Court) a statement of
               special damages, if any, and make a settlement proposal, on or before
               January 24, 2024. Defendant(s) shall serve on the Plaintiff(s) (but not file with
               the Court) a response thereto within 21 days after receipt of the proposal. The
               parties shall forward copies of their settlement demands and responses when made
               to Magistrate Judge Dinsmore at MJDinsmore@insd.uscourts.gov.

        F.     Except where governed by paragraph (G) below, expert witness disclosure
               deadlines shall conform to the following schedule: Plaintiff(s) shall disclose the
               name, address, and vita of any expert witness, and shall serve the report required
               by Fed. R. Civ. P. 26(a)(2)(B) or (C) on or before September 20, 2024.
               Defendant(s) shall disclose the name, address, and vita of any expert witness, and
               shall serve the report required by Fed. R. Civ. P. 26(a)(2)(B) or (C) on or before
               October 21, 2024.

        G.     Notwithstanding the provisions of paragraph (F), above, if a party intends to use
               expert testimony in connection with a motion for summary judgment to be filed by
               that party, such expert disclosures must be served on opposing counsel no later
               than 90 days prior to the dispositive motion deadline. If such expert
               disclosures are served the parties shall confer within 7 days to stipulate to a date
               for responsive disclosures (if any) and completion of expert discovery necessary
               for efficient resolution of the anticipated motion for summary judgment. The
               parties shall make good faith efforts to avoid requesting enlargements of the
               dispositive motions deadline and related briefing deadlines. Any proposed
               modifications of the CMP deadlines or briefing schedule must be approved by the
               Court.

        H.     Any party who wishes to limit or preclude expert testimony at trial shall file any
               such objections on or before February 3, 2025. Any party who wishes to preclude
               expert witness testimony at the summary judgment stage shall file any such
               objections with their responsive brief within the briefing schedule
               established by S.D. Ind. L.R. 56-1.
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          I.      All parties shall file and serve their final witness and exhibit lists on or before
                  November 15, 2024. This list should reflect the specific potential witnesses the
                  party may call at trial. It is not sufficient for a party to simply incorporate by
                  reference "any witness listed in discovery" or such general statements. The final
                  witness list must identify each potential witness by name and include a brief
                  synopsis of each witness's expected testimony. The final exhibit list must
                  precisely identify, preferably by Bates number 1 , each specific document that
                  may be offered at the trial of this matter. No individual not identified by name in
                  the final witness list may testify at the trial of this matter. No document not
                  expressly identified in the final exhibit list may be offered into evidence at trial. 2

          J.      Any party who believes that bifurcation of discovery and/or trial is appropriate with
                  respect to any issue or claim shall notify the Court as soon as practicable.

          K.      Discovery of electronically stored information ("ESI"). Unless otherwise agreed
                  by the parties or ordered by the Court, all electronically stored information will be
                  produced in its native format. If the parties subsequently agree to produce ESI in
                  other than its native format, and if thereafter a party determines in good faith that it
                  is unable to adequately review any ESI produced in other than its native format, it
                  may request the production of the ESI in its native format, in which event the
                  information will then be produced in its native format.
                  In the event that a document protected by the attorney-client privilege, the
                  attorney work product doctrine or other applicable privilege or protection is
                  unintentionally produced by any party to this proceeding, the producing party
                  may request that the document be returned. In the event that such a request is
                  made, all parties to the litigation and their counsel shall promptly return all copies
                  of the document in their possession, custody, or control to the producing party
                  and shall not retain or make any copies of the document or any documents derived
                  from such document. The producing party shall promptly identify the returned
                  document on a privilege log. The unintentional disclosure of a privileged or
                  otherwise protected document shall not constitute a waiver of the privilege or
                  protection with respect to that document or any other documents involving the
                  same or similar subject matter.




1
  If the documents in question are not Bates numbered, the party should identify the documents by date and
description and include therein the number of pages of each document, and shall immediately comply with
the request of any party to be provided with a copy of that specific document, whether or not the document
has been previously produced. Copies of previously produced documents identified by Bates number in the
final exhibit list need not be produced.
2
  If a party identifies a possible witness or exhibit that may be used at trial after the deadline set forth in this
paragraph, that party shall immediately file a motion for leave to amend their final witness and/or exhibit list,
and shall identify therein when the witness or exhibit was first identified and explain why that witness or
exhibit could not have been identified prior to the deadline set forth in this paragraph.
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    IV.   Discovery 3 and Dispositive Motions

          A.     Does any party believe that this case may be appropriate for summary judgment or
                 other dispositive motion? If yes, the party(ies) that expect to file such a motion
                 must provide a brief statement of the factual and/or legal basis for such a motion.

                 Plaintiff: Plaintiff does not anticipate that he will file a motion for summary
                 judgment at this time.

          B.     On or before August 9, 2024, and consistent with the certification provisions of Fed.
                 R. Civ. P. 11(b), the party with the burden of proof shall file a statement of the
                 claims or defenses it intends to prove at trial, stating specifically the legal theories
                 upon which the claims or defenses are based. A party's failure to file a timely
                 statement of claims or defenses may result in the waiver of the party's claims or
                 defenses. A party's failure to include in the party's statement of claims or
                 defenses a claim or defense upon which the filing party has the burden of proof
                 may result in the waiver of the omitted claim or defense.

          C.     Dispositive motions are expected and shall be filed by September 6, 2024;
                 non-expert witness discovery and discovery relating to liability issues shall be
                 completed by August 2, 2024; all remaining discovery shall be completed by
                 January 17, 2025.

                  Absent leave of Court, and for good cause shown, all issues raised on summary
                  judgment under Fed. R. Civ. P. 56 must be raised by a party in a single motion.




3
  The term "completed," as used in Section IV.C, means that counsel must serve their discovery requests in
sufficient time to receive responses before this deadline. Counsel may not serve discovery requests within
the 30-day period before this deadline unless they seek leave of Court to serve a belated request and show
good cause for the same. In such event, the proposed belated discovery request shall be filed with the motion,
and the opposing party will receive it with service of the motion but need not respond to the same until such
time as the Court grants the motion.
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 V.     Pre-Trial/Settlement Conferences

        At any time, any party may call the Judge's Staff to request a conference, or the Court may
        sua sponte schedule a conference at any time. The presumptive time for a settlement
        conference is no later than 30 days before the close of non-expert discovery. The parties
        are encouraged to request an earlier date if they believe the assistance of the Magistrate
        Judge would be helpful in achieving settlement. The parties recommend a settlement
        conference in June, 2024.


 VI.    Trial Date

        This matter will be ready for trial in or after June, 2025. The trial is by jury and is
        anticipated to take four days.


 VII.   Referral to Magistrate Judge

        A.     Case. At this time, all parties do not consent to refer this matter to the currently
               assigned Magistrate Judge pursuant to 28 U.S.C. 636(c) and Fed. R. Civ. P. 73 for
               all further proceedings including trial.

        B.     Motions. The parties may also consent to having the assigned Magistrate Judge
               rule on motions ordinarily handled by the District Judge, such as motions to
               dismiss, for summary judgment, or for remand.
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 VIII. Required Pre-Trial Preparation

       A.     TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the
              parties shall:

              1.    File a list of trial witnesses, by name, who are actually expected to be called
                    to testify at trial. This list may not include any witnesses not on a party’s
                    final witness list filed pursuant to Section III.I.

              2.    Number in sequential order all exhibits, including graphs, charts and the
                    like, that will be used during the trial. Provide the Court with a list of these
                    exhibits, including a description of each exhibit and the identifying
                    designation. Make the original exhibits available for inspection by
                    opposing counsel. Stipulations as to the authenticity and admissibility of
                    exhibits are encouraged to the greatest extent possible.

              3.    Submit all stipulations of facts in writing to the Court. Stipulations are
                    always encouraged so that at trial, counsel can concentrate on relevant
                    contested facts.

              4.    A party who intends to offer any depositions into evidence during the party's
                    case in chief shall prepare and file with the Court and copy to all opposing
                    parties either:

                    a.     brief written summaries of the relevant facts in the depositions that
                           will be offered. (Because such a summary will be used in lieu of the
                           actual deposition testimony to eliminate time reading depositions in
                           a question and answer format, this is strongly encouraged.); or

                    b.     if a summary is inappropriate, a document which lists the portions
                           of the deposition(s), including the specific page and line numbers,
                           that will be read, or, in the event of a video-taped deposition, the
                           portions of the deposition that will be played, designated specifically
                           by counter-numbers.

              5.    Provide all other parties and the Court with any trial briefs and motions in
                    limine, along with all proposed jury instructions, voir dire questions, and
                    areas of inquiry for voir dire (or, if the trial is to the Court, with proposed
                    findings of fact and conclusions of law).

              6.    Notify the Court and opposing counsel of the anticipated use of any
                    evidence presentation equipment.
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       B.      ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the
               parties shall:

               1.   Notify opposing counsel in writing of any objections to the proposed
                    exhibits. If the parties desire a ruling on the objection prior to trial, a motion
                    should be filed noting the objection and a description and designation of the
                    exhibit, the basis of the objection, and the legal authorities supporting the
                    objection.

               2.   If a party has an objection to the deposition summary or to a designated
                    portion of a deposition that will be offered at trial, or if a party intends to
                    offer additional portions at trial in response to the opponent's designation,
                    and the parties desire a ruling on the objection prior to trial, the party shall
                    submit the objections and counter summaries or designations to the Court
                    in writing. Any objections shall be made in the same manner as for
                    proposed exhibits. However, in the case of objections to video-taped
                    depositions, the objections shall be brought to the Court's immediate
                    attention to allow adequate time for editing of the deposition prior to trial.

               3.   File objections to any motions in limine, proposed instructions, and voir dire
                    questions submitted by the opposing parties.

               4.   Notify the Court and opposing counsel of requests for separation of
                    witnesses at trial.



 IX.   Other Matters

       None.
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 Respectfully submitted,

 THE BACH LAW FIRM, LLC                   MATTINGLY BURKE COHEN
                                          & BIEDERMAN LLP

  /s/ Jason J. Bach                         /s/ Hamish S. Cohen
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 jbach@bachlawfirm.com                            Brian.Weir-Harden@mbcblaw.com
 Attorney for Plaintiff                   Attorney for Defendant
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 ******************************************************************************


       PARTIES APPEARED IN PERSON/BY COUNSEL ON                    FOR A
       PRETRIAL/STATUS CONFERENCE.

       APPROVED AS SUBMITTED.

   X   APPROVED AS AMENDED.

       APPROVED AS AMENDED PER SEPARATE ORDER.

       APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
       SHORTENED/LENGTHENED BY               MONTHS.


       APPROVED, BUT THE DEADLINES SET IN SECTION(S)
                    OF THE PLAN IS/ARE SHORTENED/LENGTHENED BY
                    MONTHS.


       THIS MATTER IS SET FOR TRIAL BY                 ON
                                  . FINAL PRETRIAL CONFERENCE IS
       SCHEDULED FOR                                    AT
       .M., ROOM                .


       A SETTLEMENT/STATUS CONFERENCE IS SET IN THIS CASE FOR
                        AT       .M. COUNSEL SHALL APPEAR:

                                IN PERSON IN ROOM           ; OR

                              BY TELEPHONE, WITH COUNSEL FOR
                  INITIATING THE CALL TO ALL OTHER PARTIES AND
                  ADDING THE COURT JUDGE AT ( )
                                  ; OR

                              BY TELEPHONE, WITH COUNSEL
                  CALLING THE JUDGE'S STAFF AT (  )
                                   ;


   X   DISPOSITIVE MOTIONS SHALL BE FILED NO LATER THAN September 6, 2024.



   X   DISCOVERY SHALL BE COMPLETED BY August 2, 2024.
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           Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an
  Order of the Court may result in sanctions for contempt, or as provided under Fed. R. Civ. P. 16-
  1(f), to and including dismissal or default.

         APPROVED AND SO ORDERED AS AMENDED.




         Dated: 16 JAN 2024




 Distribution:

 Service will be made electronically
 on all ECF-registered counsel of record
 via email generated by the Court's ECF system.
